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         ORAL ARGUMENT SCHEDULED FOR MAY 11, 2023

                                No. 22-3062


 In the United States Court of Appeals for the
         District of Columbia Circuit
                              ______________

                    UNITED STATES OF AMERICA,
                                                          Plaintiff-Appellee
                                     v.

                         THOMAS ROBERTSON,
                                                      Defendant-Appellant
                              ______________

          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
                  D. CT. NO. 1:21-CR-34 (COOPER, J.)
                           ______________

        APPELLEE’S SUPPLEMENTAL BRIEF FOR THE UNITED STATES
                          ______________

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                   GLOSSARY OF ABBREVIATIONS
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Gov. Br.    Government’s Answering Brief

SA          Government’s Supplemental Appendix




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          INTRODUCTION AND SUMMARY OF ARGUMENT

      Defendant Thomas Robertson has appealed his conviction under 18

U.S.C. § 1512(c)(2), which makes it unlawful to “corruptly . . . obstruct[],

influence[], or impede[] any official proceeding,” principally on the ground

that he did not act “corruptly” as that term is understood in Section

1512(c)(2). Br.12-21. In United States v. Fischer, No. 22-3038, __ F.4th

__, 2023 WL 2817988 (D.C. Cir. Apr. 7, 2023), this Court reversed a

district court’s pretrial ruling that Section 1512(c)(2) “does not apply to

assaultive conduct, committed in furtherance of an attempt to stop

Congress from performing a constitutionally required duty.” Id. at *1.

Fischer does not supply a binding interpretation of “corruptly” in Section

1512(c)(2) for two reasons. First, how to interpret “corruptly” was neither

squarely presented nor authoritatively resolved in Fischer. Second, even

if this Court were to apply the rule announced in United States v. Marks,

430 U.S. 188, 193 (1977), and clarified in King v. Palmer, 950 F.2d 771,

781 (D.C. Cir. 1991) (en banc), to the various opinions in Fischer, no

interpretation of “corruptly” emerged as a “common denominator of the

Court’s reasoning.” King, 950 F.2d at 781.
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                               ARGUMENT

      This Court’s decision in Fischer does not authoritatively construe
      “corruptly” in 18 U.S.C. § 1512(c)(2).

      The Court in Fischer did not pronounce an authoritative holding on

the meaning of “corruptly” in Section 1512(c)(2). The district court’s

dismissal of the Section 1512 count in those cases (consolidated on

appeal) was based on its view that the actus reus of the offense requires

a nexus to documents, not any concern about the statute’s mens rea

element; accordingly, the definition of “corruptly” was not extensively

briefed by the parties or squarely presented to this Court on appeal, and

the Court therefore had no cause to resolve the issue. Furthermore, the

sole concurring opinion in Fischer that sought to define “corruptly” did

not command sufficient support to render that definition a holding of the

Court.

I.    Fischer did not decide how to interpret “corruptly” in Section
      1512(c)(2).

      The panel in Fischer produced three opinions. In the portions of

the lead opinion (Pan, J.) joined in full by the concurring judge (Walker,

J.), Fischer relied on Section 1512(c)(2)’s text and structure as well as

case law interpreting the statute, see id. at *4-*6, to conclude that Section

1512(c)(2) “encompasses all forms of obstructive conduct, including . . .

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efforts to stop Congress from certifying the results of the 2020

presidential election.” Id. at *3. In a section of the lead opinion that

Judge Walker did not join, Judge Pan reasoned that “[t]he requirement

of ‘corrupt’ intent prevents [Section] 1512(c)(2) from sweeping up a great

deal of conduct that has nothing to do with obstruction,” but refrained

from defining “the exact contours of ‘corrupt’ intent” because “the task of

defining ‘corruptly’” was not before the Court. Id. at *7 (opinion of Pan,

J.). Judge Walker, believing that defining “corruptly” was necessary to

“make sense” of [Section 1512](c)(2)’s act element,” wrote a concurring

opinion in which he proposed defining the term to mean to “act with an

intent to procure an unlawful benefit either for oneself or for some other

person.”   Id. at 17 (Walker, J., concurring) (citation omitted).       The

dissenting opinion (Katsas, J.) criticized the concurrence’s definition of

“corruptly” because it “required transplanting” into Section 1512(c)(2) an

interpretation “that appears to have been used so far only in tax law,”

but did not endorse any other definition of the term. Id. at *43 (Katsas,

J., dissenting).

      As explained in both the lead and dissenting opinions in Fischer,

the definition of “corruptly” was not squarely presented in that case and



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therefore was not resolved. See id. at *7 (opinion of Pan, J.) (“expressing

[no] preference for any particular definition of ‘corruptly’” because “the

allegations against appellees appear to be sufficient to meet any proposed

definition of ‘corrupt’ intent”); id. at *8 (noting that the dissent also

“declines to settle on a precise meaning of ‘corruptly’ at this time” and

thus “share[s] much common ground” with the lead opinion “on the issue

of mens rea”); id. at *42-*43 (Katsas, J., dissenting) (surveying possible

definitions of “corruptly” but declining to adopt any particular one).

Although the concurrence would have determined that “corruptly” means

“a criminal intent to procure an unlawful benefit,” id. at *22 (Walker, J.,

concurring), the resolution of that mens rea issue was not necessary to

the court’s holding concerning the actus reus of the offense—which Judge

Walker joined by concurring in all but a section and a footnote in the lead

opinion and concurring in the judgment—and his views on the meaning

of “corruptly” were not adopted by the other judges on the panel.

      Reading Fischer to have left unresolved the definition of “corruptly”

in Section 1512(c)(2) is consistent with how the case was litigated.

Although the defendant argued below that Section 1512(c)(2)’s mens rea

requirement was unconstitutionally vague, see United States v. Miller,



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589 F. Supp. 3d 60, 65 (D.D.C. 2022), the district court did not address

that argument and specifically declined to interpret “corruptly” when

adjudicating the government’s reconsideration motion, see United States

v. Miller, 605 F. Supp. 3d 63, 70 n.3 (D.D.C. 2022).          The question

presented in Fischer concerned Section 1512(c)(2)’s actus reus

requirement, see Brief for the United States, United States v. Fischer,

No. 22-3038, at 2-3 (whether Section 1512(c)(2) covers the defendants’

“alleged conduct”), and the government’s opening 68-page brief devoted

only three pages to addressing “corruptly” when discussing limitations

on the statute’s reach. See Fischer, 2023 WL 2817988, at *8 (opinion of

Pan, J.) (noting that the parties addressed “corruptly” “only peripherally”

in the briefs). With respect to defining “corruptly” in Section 1512(c)(2),

the Court in Fischer did not have the “benefits of the normal litigation

process,” id., which in turn risks an “improvident or ill-advised” ruling on

an issue not squarely presented, United States v. West, 392 F.3d 450, 459

(D.C. Cir. 2004).

      Relatedly, treating the concurrence’s “corruptly” definition in

Fischer as a binding holding is in tension with the party-presentation

principle, under which courts “rely on the parties to frame issues for



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decision and assign courts the role of neutral arbiter of matters the

parties present.” Sineneng-Smith v. United States, 140 S. Ct. 1575, 1579

(2020) (citing Greenlaw v. United States, 554 U.S. 237, 243 (2008)). The

concurrence’s suggestion, Fischer, 2023 WL 2817988, at *17 n.1 (Walker,

J. concurring), that the parties adequately presented the interpretation

of “corruptly” is mistaken. The concurrence observed that the defendants

had “raised the issue below,” id., without acknowledging that the district

court never adjudicated the vagueness challenge or defined “corruptly.”

And although the concurrence relied on “lengthy discussions by several

district judges in similar cases,” id., those judges also declined to offer

definitive interpretations of “corruptly” in those rulings. See, e.g., United

States v. Montgomery, 578 F. Supp. 3d 54, 84 n.5 (D.D.C. 2021)

(“[B]ecause the Court has yet to hear from the parties on the proper jury

instructions, the Court will leave for another day the question whether

this formulation [of corruptly]—or a slightly different formulation—will

best guide the jury.”).*    In short, the concurrence’s interpretation of




*Additionally, no district court judge appears to have instructed a jury
using the concurrence’s “corruptly” interpretation. See, e.g., SA 203;
United States v. Reffitt, No. 21-cr-32, ECF No. 119 at 25-26 (D.D.C. Mar.

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“corruptly” did not result from the “crucible of litigation,” Fischer, 2023

WL 2817988, at *8 (opinion of Pan, J.), and thus should not be treated as

authoritative.

II.   Even if the Marks rule applied, it would not counsel in favor of
      defining “corruptly” using the definition provided by the
      concurrence in Fischer.

       There is no reason for this Court to turn to United States v. Marks,

430 U.S. 188 (1977), for guidance on how to interpret Fischer’s holding.

In Marks, the Supreme Court held that, “[w]hen a fragmented Court

decides a case and no single rationale explaining the result enjoys the

assent of five Justices, ‘the holding of the Court may be viewed as that

position taken by those Members who concurred in the judgments on the

narrowest grounds[.]’” 430 U.S. at 193 (quoting Gregg v. Georgia, 428

U.S. 153, 169 n.15 (1976) (plurality op.)). Marks is inapposite for several

reasons.

      First, there is a “single rationale explaining the result” in Fischer

that a majority of the Court adopted: all but Section I.C.1 (declining to

interpret “corruptly”) and footnote 8 of the lead opinion. That opinion



7, 2022); United States v. Hale-Cusanelli, No. 21-cr-37, ECF No. 84 at 24,
27 (D.D.C. May 27, 2022).


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held in Section I.A that Section 1512(c)(2) was “unambiguous”: it “applies

to all forms of corrupt obstruction of an official proceeding” other than

the document destruction and evidence tampering already covered in

Section 1512(c)(1). Fischer, 2023 WL 2817988, at *4. Thus, unlike the

situation described in Marks—where more than five Justices agreed on

a result, but no five Justices agreed on a rationale—here, a majority of

the   Court    did     agree   on   a   rationale   explaining   the   result:

Section 1512(c)(2)’s unambiguous statutory text describing the actus

reus of the offense.

      In this respect, the Fischer lead opinion resembles those that have

commanded a five-Justice majority in the Supreme Court, with one

Justice writing a concurring opinion explaining his or her disagreement

with aspects of the majority opinion but joining it anyway. See, e.g.,

AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 352-53 (2011) (Thomas,

J., concurring); Arizona v. Gant, 556 U.S. 332, 354 (2009) (Scalia, J.,

concurring); U.S. Airways, Inc. v. Barnett, 535 U.S. 391, 408 (2002)

(O’Connor, J, concurring). In such a case, the majority opinion controls

and Marks has no applicability. See Richard M. Re, Beyond the Marks

Rule, 132 Harv. L. Rev. 1942, 2001-02 nn.311, 322 (2019) (noting that



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appellate courts have never applied the Marks rule to Concepcion and

Gant). Here, Judge Walker joined the portion of the lead opinion holding

that Section 1512(c)(2) encompasses all forms of obstructive conduct.

That is Fischer’s clear holding.          The fact that Judge Walker’s

understanding of the statute’s mens rea requirement informed his

decision to join the majority opinion does not make that understanding a

holding of the court. Cf. King v. Palmer, 950 F.2d 771, 784 (D.C. Cir.

1991) (en banc) (observing that “the result is binding even when the

Court fails to agree on reasoning”) (citing National Mut. Ins. Co. v.

Tidewater Transfer Co., 337 U.S. 582, 655 (1949) (Frankfurter, J.,

dissenting)).

      Second, as both the lead opinion and the concurrence in Fischer

recognized, the D.C. Circuit has never applied Marks to its own cases.

See Fischer, 2023 WL 2817988, at *8 n.5 (opinion of Pan, J.); id. at *27

n.10 (Walker, J., concurring). Indeed, “only one federal appellate court

has done so.” Id. at *8 n.5 (opinion of Pan, J.) (citing Binderup v. U.S.

Att’y Gen., 836 F.3d 336, 356 (3d Cir. 2016) (en banc)). Insofar as this

Court “needs some rule to decide the holding” of Fischer, 2023 WL

2817988, at *27 n.10 (Walker, J., concurring), that rule is apparent: it



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should follow the parts of the opinion agreed upon by a majority of the

panel, namely, that Section 1512(c)(2)’s plain text encompasses all forms

of obstructive conduct.

      Applying the concurrence’s view of Marks to Fischer would be

particularly “problematic.” King, 950 F.2d at 782; see Fischer, 2023 WL

2817988, at *27 n.10 (Walker, J., concurring) (suggesting that his

“reading of ‘corruptly’ may . . . be controlling” under Marks). As this

Court has observed, when all the Justices but one “do not subscribe to a

given approach to a legal question, it surely cannot be proper to endow

that approach with controlling force, no matter how persuasive it may

be.” Id. So too here a single opinion that “lacks majority support,” id.,

because it decides a question the other members of the panel expressly

declined to resolve should not become the law of the circuit.

      Third, even were this Court to apply a Marks analysis to Fischer, it

would not require the Court to adopt the concurrence’s view of the

meaning of “corruptly” in Section 1512(c)(2). In King, this Court sitting

en banc held that “Marks is workable—one opinion can be meaningfully

regarded as ‘narrower’ than another—only when one opinion is a logical

subset of other, broader opinions. In essence, the narrowest opinion must



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represent a common denominator of the Court’s reasoning; it must

embody a position implicitly approved by at least five Justices who

support the judgment.” 950 F.2d at 781; see generally Beyond the Marks

Rule, supra, at 1994-95 (noting that the D.C. Circuit has adopted a

narrower reading of Marks than other courts of appeals); see also United

States v. Duvall, 740 F.3d 604, 618 (D.C. Cir. 2013) (Williams, J.,

concurring in denial of rehearing en banc). But the concurrence’s reading

of “corruptly” does not “embody a position implicitly approved by at least

[two judges] who support the judgment”; to the contrary, a “majority of

the panel . . . expressly declined to endorse the concurrence’s definition

of ‘corruptly.’” Fischer, 2023 WL 2817988, at *8 n.5 (opinion of Pan, J.).

      Moreover, the concurrence’s definition was “not one with which [the

lead] opinion ‘must necessarily agree as a logical consequence of its own,

broader position’ because [the lead] opinion t[ook] no position on the exact

meaning of ‘corruptly.’” Id. (quoting King, 950 F.2d at 782). To be sure,

Judge Walker contended that his opinion was “narrower” than the lead

opinion because he “read[s] [Section 1512](c)(2) to cover only some of the

conceivable defendants the lead opinion might allow a court to convict,”

id. at *27 n.10 (Walker, J., concurring). But that contention proceeds



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from the mistaken premise that the lead opinion adopted “all th[e]

formulations” of “corruptly” that it considered, id., when in fact it

declined to adopt a specific definition. Rather, the lead opinion resolved

only the narrow question of whether an indictment grounded upon the

defendants’ assaultive conduct properly stated a violation of Section

1512. The Court had no need to delineate the world of “conceivable

defendants” that could be convicted under the statute.          Id. at *7-*8

(opinion of Pan, J.). Nor did the Court have any need to resolve the

meaning of the term “corruptly” at the motion-to-dismiss stage. The

indictments in Fischer all alleged that the defendants acted “corruptly,”

as the statute requires, and any dispute about the meaning of that term

could have no bearing on the sufficiency of the indictment for purposes of

a motion to dismiss. See United States v. Williamson, 903 F.3d 124, 130

(D.C. Cir. 2018) (indictment “echo[ing] the operative statutory text while

also specifying the time and place of the offense” fairly informs a

defendant of the charge against him).

      With respect to the interpretation of the term “corruptly” in Section

1512(c)(2), therefore, Fischer contains “no governing rule,” King, 950

F.2d at 782, and no “‘narrowest’ opinion . . . to resolve all future cases,”



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Duvall, 740 F.3d at 611 (Kavanaugh, J., concurring in denial of rehearing

en banc). The concurrence’s definition of “corruptly” in Fischer does not

bind future panels but is instead entitled to whatever “persuasive

authority” it may possess. Duvall, 740 F.3d at 605 (Rogers, J., concurring

in denial of rehearing en banc).       And for the reasons given in the

government’s answering brief in this case, see Gov. Br. 35-39, the Court

should conclude that the concurrence’s interpretation is sufficient, but

not necessary, to prove that a defendant acted corruptly for purposes of

Section 1512(c)(2).

                              CONCLUSION

      The Court should affirm the judgment of the district court.

                                       Respectfully submitted,

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                       CERTIFICATE OF SERVICE

      In accordance with Fed. R. App. P. 25(d), the undersigned counsel

of record certifies that the foregoing Brief for the United States was this

day served upon counsel for appellant, by notice of electronic filing with

the District of Columbia Circuit CM/ECF system.

DATED: APRIL 18, 2023


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                    CERTIFICATE OF COMPLIANCE

1. This brief complies with the type-volume limitations in this Court’s

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DATED: APRIL 18, 2023
                                         /s/ James I. Pearce
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